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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:
                                                                Chapter 11
    WILLIAMS INDUSTRIAL SERVICES
    GROUP INC., et al.,1                                        Case No. 23-10961 (BLS)

                                                                (Jointly Administered)
             Debtors.


                                     NOTICE OF CLOSING OF SALE

             PLEASE TAKE NOTICE that on September 7, 2023, the United States Bankruptcy Court

for the District of Delaware (“Court”) entered the Order (a) Approving the Sale of Assets Free and

Clear of All Claims, Liens, Rights, Interests, and Encumbrances, (b)Authorizing the Debtors to

Perform their Obligations under the Purchase Agreement and Other Transactions Documents, (c)

Authorizing and Approving the Assumption and Assignment of Certain Executory Contracts and

Unexpired Leases Related Thereto, and (d) Granting Related Relief [D.I. 309] (“Sale Order”),

thereby, among other things, authorizing and approving the sale of the Transferred Assets2 to

EnergySolutions Nuclear Services, LLC pursuant to the Stalking Horse APA.

             PLEASE TAKE FURTHER NOTICE that the Closing (as that term is defined in the

Stalking Horse APA) under the Stalking Horse APA occurred effective September 18, 2023.




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
      number, include: Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC
      (2666), Williams Industrial Services, LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty
      Services, LLC (9578), WISG Electrical, LLC (6918), Construction & Maintenance Professionals, LLC (0925),
      Williams Global Services, Inc. (3708), Steam Enterprises, LLC (9177), GPEG LLC (5707), Global Power
      Professional Services, Inc. (2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N. 3510), and WISG
      Electrical Ltd. (B.N. 2116). The location of the Debtors’ corporate headquarters and service address is: 200
      Ashford Center N, Suite 425, Atlanta, GA 30338.
2
      Capitalized but undefined terms shall have the same meanings as defined in the Sale Order or the Bidding
      Procedures Order (as defined in the Sale Order), as applicable.



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         PLEASE TAKE FURTHER NOTICE that copies of the Sale Order, the Stalking Horse

APA, and other relevant documents are available for review (a) free of charge by accessing the

Debtors’ Case Website (https://dm.epiq11.com/case/williamsindustrialservicesgroup/info), or (b)

for a fee through the Court’s website (https://pacer.uscourts.gov) by following the directions for

accessing the ECF system on such site.

 Dated: September 19, 2023
 Wilmington, Delaware
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